             Case 1:18-cr-00022-NLH Document 57 Filed 06/26/19 Page 1 of 6 PageID: 278
AO 2458 (Mod. D/NJ 12/06) Sheet 1 - Judgment in a Criminal Case




                                                           UNITED STATES DISTRICT COURT
                                                                 District of New Jersey


  UNITED STATES OF AMERICA

              V.
                                                                            CASE NUMBER        1 :18-CR-00022-NLH-1
 JOSEPH KELLEY

            Defendant.


                                                          JUDGMENT IN A CRIMINAL CASE
                                               (For Offenses Committed On or After November 1, 1987)


            The defendant, JOSEPH KELLEY, was represented by ALOIS HAROLD KOKES, ESQ.

            On Motion of the United States, the court has Dismissed Counts 1, 2 and 3 of the Indictment.

The defendant pleaded Guilty to Count 6 of the INDICTMENT on 8/17/2018.                   Accordingly, the court has adjudicated that
the defendant is guilty of the following offense:

                                                                                                                      Count
 Title & Section                Nature of Offense                                               Date of Offense       Number

 18 U.S.C. §554                 SMUGGLING FROM THE UNITED STATES                               4/12/2013              6


       As pronounced on June 24, 2019, the defendant is sentenced as provided in pages 2 through 6 of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.

         It is ordered that the defendant must pay to the United States a special assessment of $100.00 for Count 6, which
shall be due immediately. Said special assessment shall be made payable to the Clerk, U.S. District Court.

        It is further ordered that the defendant must notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of any
material change in economic circumstances.
                                      ~
            Signed this         2fo        day of June, 2019.



                                                                             Hon. Noel L. Hillman
                                                                             U.S. District Judge




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              Case 1:18-cr-00022-NLH Document 57 Filed 06/26/19 Page 2 of 6 PageID: 279
AO 2458 (Mod. D/NJ 12/06) Sheet 4 - Probation


                                                                                             Judgment - Page 2 of 6
Defendant: JOSEPH KELLEY
Case Number: 1: 18-CR-00022-NLH-1



                                                          PROBATION

        Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that you, Joseph Kelley, are hereby
placed on probation for a term of 5 years.

        While on probation, you must not commit another federal, state, or local crime, must refrain from any unlawful use
of a controlled substance and must comply with the standard conditions that have been adopted by this court as set forth
below.

        You must submit to one drug test within 15 days of commencement of probation and at least two tests thereafter
as determined by the probation officer.

You must cooperate in the collection of DNA as directed by the probation officer.


         If this judgment imposed restitution, you must make restitution in accordance with 18 U.S.C. §§ 2248, 2259, 2264,
2327, 3663, 3663A, and 3664. You must pay the assessment imposed in accordance with 18 U.S.C. §3013. If this judgment
imposed a fine, you must pay in accordance with the Schedule of Payment sheet of this judgment. You must notify the
court of any material change in your economic circumstances that might affect your ability to pay restitution, fines, or special
assessments.

            You must comply with the following special conditions:

            LOCATION MONITORING PROGRAM                     (8 months, Payment not waived)

            You must submit to home detention for a period of 8 months and comply with the Location Monitoring Program
            requirements as directed by the U.S. Probation Office. You will be restricted to your residence at all times except
            for employment, education, religious services, medical, substance abuse and mental health treatment, court-
            ordered obligations, and any other such times specifically authorized by the U.S. Probation Office. The location
            monitoring technology is at the discretion of the U.S. Probation Office. You must pay the cost of the monitoring.


            ALCOHOL/DRUG TESTING AND TREATMENT

            You must refrain from the illegal possession and use of drugs, including prescription medication not prescribed in
            your name, and the use of alcohol, and must submit to urinalysis or other forms of testing to ensure compliance. It
            is further ordered that you must submit to evaluation and treatment, on an outpatient or inpatient basis, as approved
            by the U.S. Probation Office. You must abide by the rules of any program and must remain in treatment until
            satisfactorily discharged by the Court. You must alert all medical professionals of any prior substance abuse history,
            including any prior history of prescription drug abuse. The U.S. Probation Office will supervise your compliance with
            this condition.


            COMMUNITY SERVICE (300 hours over 5 years)

            You must contribute 300 hours of community service work over a period of 5 years or less, from the date supervision
            commences. Such service will be without compensation, with the specific work placement to be approved by the
            U.S. Probation Office.
              Case 1:18-cr-00022-NLH Document 57 Filed 06/26/19 Page 3 of 6 PageID: 280
AO 2458 (Mod. 0/NJ 12/06) Sheet 4 - Probation


                                                                                             Judgment - Page 3 of 6
Defendant: JOSEPH KELLEY
Case Number: 1:18-CR-00022-NLH-1



            FINANCIAL DISCLOSURE

            Upon request, you must provide the U.S. Probation Office with full disclosure of your financial records, including co-
            mingled income, expenses, assets and liabilities, to include yearly income tax returns. With the exception of the
            financial accounts reported and noted within the presentence report, you are prohibited from maintaining and/or
            opening any additional individual and/or joint checking, savings, or other financial accounts, for either personal or
            business purposes, without the knowledge and approval of the U.S. Probation Office. You must cooperate with the
            U.S. Probation Officer in the investigation of your financial dealings and must provide truthful monthly statements
            of your income. You must cooperate in the signing of any authorization to release information forms permitting the
            U.S. Probation Office access to your financial records.

            MENTAL HEALTH TREATMENT

            You must undergo treatment in a mental health program approved by the U.S. Probation Office until discharged by
            the Court. As necessary, said treatment may also encompass treatment for gambling, domestic violence and/or
            anger management, as approved by the U.S. Probation Office, until discharged by the Court. The U.S. Probation
            Office will supervise your compliance with this condition.

            NEW DEBT RESTRICTIONS

            You are prohibited from incurring any new credit charges, opening additional lines of credit, or incurring any new
            monetary loan, obligation, or debt, by whatever name known, without the approval of the U.S. Probation Office. You
            must not encumber or liquidate interest in any assets unless it is in direct service of the fine and/or restitution
            obligation or otherwise has the expressed approval of the Court.

            LIFE SKILLS/EDUCATION

            As directed by the U.S. Probation Office, you must participate in and complete any educational, vocational, cognitive
            or any other enrichment programs offered by the U.S. Probation Office or any outside agency or establishment
            while under supervision.

            SUPPORTING DEPENDENTS

            If you are Court-ordered to make child support payments or to make payments to support a person caring for a
            child, you must make the payments and comply with the other terms of the order.
               Case 1:18-cr-00022-NLH Document 57 Filed 06/26/19 Page 4 of 6 PageID: 281
 AO 2458 (Mod. 0/NJ 12/06) Sheet 4 - Probation


                                                                                               Judgment - Page 4 of 6
 Defendant: JOSEPH KELLEY
 Case Number: 1: 18-CR-00022-NLH-1



                                                 STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions
are imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum
tools needed by probation officers to keep informed, report to the court about, and bring about improvements in your conduct
and condition.


1) You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours
   of your release from imprisonment, unless the probation officer instructs you to report to a different probation office or
   within a different time frame.

2)   After initially reporting to the probation office, you will receive instructions from the court or the probation officer about
     how and when you must report to the probation officer, and you must report to the probation officer as instructed.

3)   You must not knowingly leave the federal judicial district where you are authorized to reside without first getting
     permission from the court or the probation officer.

4)   You must answer truthfully the questions asked by your probation officer.

5)   You must live at a place approved by the probation officer. If you plan to change where you live or anything about your
     living arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the
     change. If notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify
     the probation officer within 72 hours of becoming aware of a change or expected change.

6) You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the
   probation officer to take any items prohibited by the conditions of your supervision that he or she observes in plain
   view.

7) You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer
   excuses you from doing so. If you do not have fulltime employment you must try to find full-time employment, unless
   the probation officer excuses you from doing so. If you plan to change where you work or anything about your work
   (such as your position or your job responsibilities), you must notify the probation officer at least 10 days before the
   change. If notifying the probation officer at least 10 days in advance is not possible due to unanticipated
   circumstances, you must notify the probation officer within 72 hours of becoming aware of a change or expected
   change.

8)   You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone
     has been convicted of a felony, you must not knowingly communicate or interact with that person without first getting
     the permission of the probation officer.

9)   If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

10) You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e ..
    anything that was designed, or was modified for, the specific purpose of causing bodily injury or death to another
    person such as nunchakus or tasers).

11) You must not act or make any agreement with a law enforcement agency to act as a confidential human source or
    informant without first getting the permission of the court.

12) If the probation officer determines that you pose a risk to another person (including an organization), the probation
    officer may require you to notify the person about the risk and you must comply with that instruction. The probation
    officer may contact the person and confirm that you have notified the person about the risk.
                 Case 1:18-cr-00022-NLH Document 57 Filed 06/26/19 Page 5 of 6 PageID: 282
    AO 2458 (Mod. D/NJ 12/06) Sheet 4 - Probation


                                                                                                  Judgment - Page 5 of 6
    Defendant: JOSEPH KELLEY
    Case Number: 1:18-CR-00022-NLH-1



                                                    STAN OARD CONDITIONS OF SUPERVISION

    13) You must follow the instructions of the probation officer related to the conditions of supervision.




: ___________________ ________ For Official Use Only- - - U.S. Probation Office _______________________ _
I

       Upon a finding of a violation of probation or supervised release, I understand that the Court may (1) revoke supervision
    or (2) extend the term of supervision and/or modify the conditions of supervision.

       These conditions have been read to me. I fully understand the conditions, and have been provided a copy of them.

      You shall carry out all rules, in addition to the above, as prescribed by the Chief U.S. Probation Officer, or any of his
    associate Probation Officers.

                                         (Signed) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                            Defendant                        Date



                                                      U.S. Probation Officer/Designated Witness                   Date
             Case 1:18-cr-00022-NLH Document 57 Filed 06/26/19 Page 6 of 6 PageID: 283
AO 2456 (Mod. 0/NJ 12/06) Sheet 5 - Fine



                                                                                              Judgment - Page 6 of 6
Defendant: JOSEPH KELLEY
Case Number: 1:18-CR-00022-NLH-1



                                                                   FINE

            Ordered that the defendant shall pay a fine of $5,000.00.

        This fine, plus any interest pursuant to 18 U.S.C. § 3612(f)(1), is due immediately and shall be paid in monthly
installments of no less than $150.00, to commence 30 days after the date of this judgment.




       If the fine is not paid, the court may sentence the defendant to any sentence which might have been originally
imposed. See 18 U.S.C. § 3614.

        Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal
monetary penalties is due during imprisonment. All criminal monetary penalties, except those payments made through the
Federal Bureau of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.

         Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4)
fine principal, (5) fine interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost
of prosecution and court costs.
